            Case 8:14-cv-00550-DKC Document 96 Filed 10/01/15 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

 American Humanist Association,                 ) Case # 8:14-CV-550-DKC
 Steven Lowe, Fred Edwards,                     )
 And Bishop McNeill                             )
 Plaintiffs,                                    )
                                                )
 v.                                             )
                                                )
 Maryland-National Capital Park and             )
 Planning Commission,                           )
 Defendant.                                     )

       MOTION FOR LEAVE TO SUBMIT MEMORANDUM OF AMICI CURIAE
       IN SUPPORT OF PLAINTIFFS’S MOTION FOR SUMMARY JUDGMENT



       1.       The Council on American-Islamic Relations (“CAIR”) respectfully submits this

Motion for Leave to file a memorandum of amici curiae in support of the Plaintiff in this case.

       2.       In light of this Honorable Court’s order of September 18, 2014, granting status as

amici curiae to “Eleven Marylanders,” and directing them “to seek leave to file an amicus curiae

memorandum in support of Defendant if and when dispositive motions are filed,” (ECF #46, pg.

7), CAIR hereby requests status as amicus curiae and submits this Motion for leave to file a

memorandum in support of the Plaintiff’s Motion for Summary Judgment (Docket #80).

       3.       CAIR is the nation’s largest Muslim civil rights and liberties organization. CAIR

is an independently operated 501(c)(3) registered nonprofit organization. CAIR is committed to

defending the separation of church and state and has a particular interest in ensuring that the court

understands how public displays that associate military service with Christian symbols do not

represent Muslim service members and, in so doing, send an unconstitutional message that

conflates Christianity in particular with military sacrifice and endorse Christianity as a religion
            Case 8:14-cv-00550-DKC Document 96 Filed 10/01/15 Page 2 of 2



preferred by the state.

       4.       There are several other minority religious faith organizations that may join CAIR

as amici on the brief if approved for filing by the Court.

       5.       Movant confirms service of this motion on counsel of record for the Plaintiffs and

Defendant via the Court’s electronic filing system.

       6.       CAIR respectfully asks for 30 days within which to files its amicus brief in

support of the Plaintiffs’ motion for summary judgment.

       7.       Undersigned counsel has contacted attorneys for the Defendants, Tracey Harvin,

Esq. and William Dickerson, Esq., and for the Intervenors, Roger Byron, Esq., requesting their

position on this motion. As of the time of filing this motion, no response has been received from

counsel.

       8.       Counsel for the plaintiffs has indicated it has no objection to the filing of this

motion, or the submission of an amici curiae brief supporting the plaintiffs’ motion for summary

judgment.

       WHEREFORE, for these reasons as well as any other reasons deemed meritorious to the

Court, CAIR asks that the Court grant this motion for leave to file.

                                               Respectfully submitted,

                                               /s/
                                               ____________________________
                                               Jenifer Wicks
                                               MD Federal Bar #15573
                                               Litigation Director, Civil Rights Department
                                               Council on American-Islamic Relations
                                               453 New Jersey Ave., S.E.
                                               Washington, DC 20003
                                               jwicks@cair.com
                                               phone: (202) 640-4934
                                               fax: (202) 379-3317
                                               COUNSEL OF RECORD FOR AMICI CURIAE
